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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )               CASE NO. 8:05CR229
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )                       ORDER
                                           )
STEPHANIE A. MONK,                         )
                                           )
             Defendant.                    )

      This matter is before the Court on the Defendant’s motion to extend the time to

object to the Magistrate Judge’s Report and Recommendation with respect to the

Defendant’s motion to suppress (Filing No. 34).

      IT IS ORDERED:

      1.      The Defendant’s motion to extend the time to object to the Magistrate

             Judge’s Report and Recommendation (Filing No. 34) is granted; and

      2.     The Defendant has until November 4, 2005, to file objections to the

             Magistrate Judge’s Report and Recommendation.


      DATED this 31st day of October.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
